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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

KHALID AHMED QASSIM,                            )
                                                )
                         Petitioner             )
                                                )
                  v.                            )                No. 04-cv-01194 (TFH)
                                                )
JOSEPH R. BIDEN, et al.,                        )
                                                )
                         Respondents.           )
________________________________________________)

                                    [PROPOSED] ORDER

       The Court, having considered the motion of petitioner Khalid Ahmed Qassim for a

temporary restraining order and preliminary injunction, and having considered the record, and

otherwise being fully advised, GRANTS the motion. Respondents are enjoined from (i)

denying petitioner the opportunity to meet with his counsel on either Saturday, November 13,

2021, or Sunday, November 14, 2021, to discuss on a privileged and confidential basis any

aspect of this case or his PRB hearing now scheduled for Tuesday, November 16, 2021; (ii)

denying petitioner the opportunity to have confidential and privileged discussions with his

counsel on Monday, November 15, 2021, regarding any aspect of this case or his upcoming

PRB session without the presence of his government-appointed non-attorney “personal

representative;” and (iii) denying his counsel Thomas B. Wilner the opportunity to depart from

Guantánamo on the first military flight scheduled to leave Guantánamo after Qassim’s PRB

hearing on November 16, 2021. IT IS SO ORDERED.



                                  ______________________
                                  United States District Judge

Dated: ___________
